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                 United States Court of Appeals
                                  For the First Circuit
                                      _____________________

 No. 19-1149

                            OPTUM, INC.; OPTUM SERVICES, INC.,

                                        Plaintiffs, Appellees,

                                                   v.

                                    DAVID WILLIAM SMITH,

                                        Defendant, Appellant.
                                        __________________

                                                Before

                                        Howard, Chief Judge,
                                Torruella and Kayatta, Circuit Judges.
                                        __________________

                                        ORDER OF COURT

                                     Entered: February 15, 2019

          Upon motion by plaintiff-appellees, the district court entered an indicative ruling pursuant
 to Fed. R. Civ. P. 62.1. The district court ruled that a motion for temporary restraining order
 ("TRO") filed by plaintiff-appellees presented a "substantial issue" but that the filing of a notice
 of appeal by defendant-appellant meant that the district court could not exercise jurisdiction to
 adjudicate the motion for TRO. Having already unsuccessfully sought similar relief from the
 district court, plaintiff-appellees have filed an urgent motion with this court seeking injunctive
 relief pursuant to Fed. R. App. P. 8. That request is denied without prejudice, but we conclude
 that remand pursuant to Fed. R. App. P. 12.1 would be prudent in light of the district court's
 indicative ruling and in light of the proceedings already conducted by the district court regarding
 the motion for TRO. The matter is remanded to the district court for the limited purpose of
 resolving the pending motion for TRO as expeditiously as possible. We express no opinion at this
 time as to the gating question whether the request for TRO must be arbitrated, a question the district
 court has answered in the negative, or as to the merits of the motion for TRO. The stay of
 proceedings previously imposed by the district court is dissolved to the extent necessary for the
 district court to adjudicate the motion for TRO. Pursuant to Rule 12.1, "the parties must promptly
 notify the circuit clerk when the district court has decided the motion on remand." We will retain
 jurisdiction over the appeal for the moment without expressing any opinion at this time as to
 whether appellate jurisdiction properly lies. That issue is reserved.
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                                          By the Court:

                                          Maria R. Hamilton, Clerk

 cc:
 Laura McLane
 John F. Welsh
 Brian Mead
 Michael J. Sheehan
 Justin L. Engel
 Russell Beck
 Stephen D. Riden
 Sarah Elaine Harrington
 Thomas C. Goldstein
 Hannah Tso Joseph
 Jeffrey J. Pyle

 Honorable Mark L. Wolf
 Robert M. Farrell, Clerk (D. Mass)
